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IN THE UNITED STATES DISTRICT COURT . .
Phl| Lombardl, Clerk
FOR THE NORTHERN DISTRICT OF OKLAHOMA U.S. DISTR|CT couRT

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UNITED STATES OF AMERICA, ) Case No.
)
Plaintiff, ) FILED UNDER SEAL
)
v. ) INDICTMENT
) [18 U.S.C. § 924(a)(1)(A):
CODY ALLEN JONES, ) False Statement to Federal Firearms
) Licensee]
Defendant. )
THE GRAND JURY CHARGES:

On or about January 17, 2012, in the Northern District of Oklahoma, the defendant,
CODY ALLEN JONES, knowingly made a false statement and representation to Academy
LTD., dfb/a Academy Sports and Outdoors, Store #84, 7850 South 107 East Avenue, Tulsa,
Oklahoma, a person licensed under the provisions of Chapter 44 of Title 18, United States
Code, with respect to information required by the provisions of Chapter 44 of Title 18,
United States Code, to be kept in the records of Academy LTD., d/b/a Academy Sports and
Outdoors, in that the defendant did falsely state and represent on a Department of the
Treasury, Bureau of Alcohol, Tobacco, Firearms and Explosives Form 4473, Firearms
Transaction Record, that he was not then under Indictment and Information for a crime
punishable by imprisonment for a term exceeding one year, whereas in truth and in fact, as
the defendant well knew, he was then under the following Informations:

1. State of Oklahoma v. Cody Allen Jones, Case No. CF-2011-3228, in the 14'h

Judicial District Court of Tulsa County, State of Oklahoma, for the crime of
Possession of Counterfeit Currency, a felony, filed on August 26, 2011; and

2. State of Oklahoma v. Cody Allen Jones, Case No. CF-201 1-4164, in the 14th
Judicial District Court of Tulsa County, State of Oklahoma, for the crime of
False Declaration of Ownership in Pawn, a felony, filed on October 31, 201 l,

both crimes punishable by imprisonment for terms exceeding one year.

All in violation of Title 18, United States Code, Section 924(a)(1)(A).
THOMAS SCOTT WOODWARD A TRUE BILL
UNITED STATES A 0

t ' /s/Grand Jurv Foreperson
JANET S INCKE Grand Jury Foreperson
Assistant ited States Attorney

